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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

FEDERAL TRADE COMMISSION,

                             Plaintiff,

        vs.                                                  Case No. 3:19-cv-02281-K

MATCH GROUP, INC., a corporation,

                             Defendant.


          APPENDIX IN SUPPORT OF DEFENDANT MATCH GROUP, INC.’S
                 MOTION TO DISMISS AND BRIEF IN SUPPORT

        Defendant Match Group, Inc. (“Match”) by and through its counsel, submits this

Appendix in support of its Motion to Dismiss and Brief in Support.

  Ex.                                Description                                 App. Page(s)

    1     Declaration of Angela C. Zambrano                                      App. 001–002

  1-A     The Complaint that the FTC Voted to Approve                            App. 003–028

  1-B     October 9, 2019 Email from Match to the FTC                              App. 029
          October 11, 2019 Email Response from the FTC to the October 9,
  1-C                                                                              App. 030
          2019 Email
    2     Declaration of Laurie Braddock                                         App. 031–032
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Dated: October 17, 2019            Respectfully Submitted,




                                   /s/ Angela C. Zambrano
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                                CERTIFICATE OF SERVICE

       On October 17, 2019, I filed the foregoing document with the clerk of court for the U.S.

District Court, Northern District of Texas. I hereby certify that I have served the document on

all counsel by a manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                         /s/ Angela C. Zambrano
                                                         Angela C. Zambrano




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               EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

FEDERAL TRADE COMMISSION,

                                 Plaintiff,
       vs.                                                   Civil Action No. 3:19-cv-02281

MATCH GROUP, INC., a corporation,
                                 Defendant.

                       DECLARATION OF ANGELA C. ZAMBRANO

       I, Angela C. Zambrano, declare as follows:

       1.      I am an attorney licensed to practice in the State of Texas. I am a partner at

Sidley Austin LLP, counsel for Defendant Match Group, Inc. in the above-captioned case. I

submit this declaration in support of Match Group, Inc.’s Motion to Dismiss. I have personal

knowledge of the matters set forth herein. If called upon to testify, I could and would testify

competently hereto.

       2.      The Complaint that Plaintiff Federal Trade Commission (“FTC”) voted to

approve is attached to this declaration as Exhibit A.

       3.      Match further informed the FTC that Match Group, Inc. is not the correct

defendant in this lawsuit. On October 9, 2019, I, as counsel for Match, sent to counsel for the

FTC an email indicating that Match Group, Inc. had not performed “the activities challenged by

the Complaint” and that “Match.com is owned and operated by Match Group, LLC and not by

Match Group, Inc.” As a result, I asked the FTC to dismiss Match Group, Inc. The October 9,

2019 email is attached to this declaration as Exhibit B. The response is attached as Exhibit C.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




                                                                                             APP 001
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                                                                      APP 002
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            EXHIBIT 1-A
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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


 UNITED STATES OF AMERICA,                                  Case No. ____________

          Plaintiff,                                        COMPLAINT FOR CIVIL
                                                            PENALTIES, PERMANENT
          v.                                                INJUNCTION, AND OTHER
                                                            RELIEF
 MATCH GROUP, INC., a corporation,

            Defendant.



       Plaintiff, the United States of America, acting upon notification and authorization to the

Attorney General by the Federal Trade Commission (“FTC” or the “Commission”), pursuant to

Section 16(a)(1) of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 56(a)(1), for its

Complaint alleges:

       1.        Plaintiff brings this action under Sections 5(a), 5(m)(1)(A), 13(b), 16(a), and 19 of

the FTC Act, 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b), 56(a), and 57b, and Section 5 of the

Restore Online Shoppers’ Confidence Act (“ROSCA”), 15 U.S.C. § 8404, to obtain permanent

injunctive relief, rescission or reformation of contracts, restitution, the refund of monies paid,

disgorgement of ill-gotten monies, and other equitable relief for Defendant’s acts or practices in

violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and Section 4 of ROSCA, 15 U.S.C.

§ 8403.

                                    SUMMARY OF THE CASE

       2.        Defendant operates Match.com, an online dating services provider. Consumers

using Match.com create profiles and communicate using either free, limited services

(“nonsubscribers”) or a broader range of paid services (“subscribers”).

                                             COMPLAINT
                                                1

                                                                                               APP 003
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       3.      Since at least 2013, Defendant has maintained the following five deceptive or

unfair practices to induce consumers to subscribe to Match.com and to keep them subscribed.

First, Defendant has sent consumers misleading advertisements that tout communications from

persons Defendant has identified as potentially fraudulent users of Match.com and has led

consumers to believe that the communications are from persons interested in establishing a

dating relationship with them. Second, between 2013 and 2018, Defendant exposed consumers to

the risk of fraud by providing recent subscribers access to communications that Defendant knew

were likely to have been sent by persons engaging in fraud. Third, Defendant has guaranteed

certain consumers a free six-month subscription renewal if they fail to “meet someone special”

but has failed to disclose the requirements of its “guarantee” adequately. Fourth, Defendant has

misled consumers with a confusing and cumbersome cancellation process that causes consumers

to believe they have canceled their subscriptions when they have not. Fifth, when consumers

dispute charges relating to any of these practices and lose the dispute, Defendant has denied

consumers access to paid-for services.

                                 JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

1345, and 1355, and 15 U.S.C. §§ 45(m)(1)(A), 53(b), and 56(a). This action arises under 15

U.S.C. § 45(a).

       5.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1), (b)(2), (c)(2), and

(d), 1395(a), and 15 U.S.C. § 53(b). Defendant resides in or transacts business in this District.




                                           COMPLAINT
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                                                                                              APP 004
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                                          DEFENDANT

       6.      Defendant Match Group, Inc. is a Delaware corporation with its principal place of

business at 8750 North Central Expressway, Suite 1400, Dallas, Texas 75231. The company

transacts or has transacted business in this District and throughout the United States.

                                          COMMERCE

       7.      At all times material to this Complaint, Defendant has maintained a substantial

course of trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act,

15 U.S.C. § 44.

                          DEFENDANT’S BUSINESS PRACTICES

       8.      Defendant is the dominant online dating service provider in the United States. It

controls approximately 25 percent of the online dating market, which is more than twice the

market share of its nearest competitor. Defendant owns, operates, and controls approximately 45

online dating services, including several of the most popular services in the United States, such

as Tinder, OKCupid, and Plenty of Fish.

       9.      Defendant also owns, operates, and controls the online dating service Match.com.

Defendant primarily generates revenue on Match.com by selling subscriptions to consumers in

25 countries, including the United States.

       10.     Defendant’s online dating service websites provide consumers a forum where

they can contact and communicate with other like-minded people over the Internet, typically for

the express or implied purpose of developing romantic relationships.

                                             Background

       11.     Defendant and other online dating service providers allow consumers access to

databases of other enrolled consumers to find potential romantic partners, typically based on



                                             COMPLAINT
                                                3

                                                                                            APP 005
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certain criteria. These criteria include age, gender, sexual orientation, and location. To facilitate

finding a compatible person, providers typically enable consumers to interact with one another,

often by utilizing Internet-based communications such as email, instant messages, and video or

telephone chat.

       12.     To use an online dating service, consumers must typically first create profiles that

contain information about themselves. Within these profiles, consumers often are able to upload

pictures and to provide descriptive and personal information that is viewable by other consumers

using the service.

       13.     Online dating services, including Defendant’s, are often misused to facilitate

fraud or to promote dubious or unlawful products or services to consumers. Most notably, online

dating services are used to find and contact potential romance scam victims. In these scams, the

perpetrator poses as a suitor and, after establishing a trusting relationship with a consumer,

deceives the consumer into giving or loaning the perpetrator money.

       14.     Consumers have incurred substantial injury from romance scams. Indeed,

consumers’ losses reported to the FTC and FBI between 2015 and 2017 totaled an estimated

$884 million. This figure likely underreports the true scale of consumer harm because many

victims do not report this type of fraud. In addition, because perpetrators of romance scams

manipulate their victims to exploit their trust and goodwill, these crimes cause significant

emotional distress and injury to consumers beyond monetary losses.

                              Defendant’s Match.com Dating Service

       15.     Consumers can purchase Match.com subscriptions in 1-, 3-, 6-, or 12-month

packages, and these packages automatically renew for terms equivalent to the original

subscription length. Alternatively, consumers may establish free “nonsubscriber” user profiles



                                            COMPLAINT
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                                                                                               APP 006
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that allow them to use limited services at no cost. On occasion, consumers may also take

advantage of temporary “free trial” offers, which allow consumers to use services that are

otherwise generally available only to paid subscribers.

       16.     Consumers using Match.com create online profiles with photographs and other

personal information and can view the profiles of other Match.com users. Consumers create

Match.com profiles and purchase Match.com subscriptions to interact with and to establish

dating relationships with these members. Consumers using Match.com cannot distinguish

nonsubscribers’ profiles from subscribers’ profiles.

       17.     Consumers who are considering purchasing a Match.com subscription are

generally not aware that as many as 25-30 percent of Match.com members who register each day

are using Match.com to perpetrate scams. These scams include romance scams, stealing

consumers’ personal information through “phishing,” promoting dubious or unlawful products or

services, and extortion scams, in which a scammer will induce a consumer to send the scammer

compromising videos or pictures of the consumer that the scammer then uses to extort money

from the consumer by threatening to send the materials to the consumer’s friends or family.

     Defendant’s Use of Communications from Illegitimate Users to Generate Deceptive
                          Advertisements and Sell Subscriptions

       18.     Nonsubscribers’ ability to communicate with other Match.com users is restricted.

Generally, nonsubscribers have been able to send limited communications, such as “likes” and,

until May 2018, “favorites” and “winks,” to other users, but not any communications with

personalized messages. Subscribers, in contrast, have been able to send other users personalized

“emails” and, until April 2017, “instant messages.”

       19.     Nonsubscribers are also unable to read personalized communications they receive

from Match.com users or to view the identities of users that interact with them through likes or

                                           COMPLAINT
                                              5

                                                                                             APP 007
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favorites. Instead, Defendant sends nonsubscribers advertisements notifying them of these

communications and encouraging them to upgrade to paid subscriptions so that they can view

and respond to these communications, and otherwise use all of Match.com’s available features.

       20.     Consumers are often unaware that, in many instances, communications received

through Match.com are not from users interested in establishing dating relationships, but are

instead from persons seeking to perpetrate scams. For example, in some months between 2013

and 2016, more than half of instant message initiations and favorites that consumers received

originated from accounts that Defendant identified as “fraudulent,” meaning that Defendant

determined the Match.com user was likely to be perpetrating some form of scam.

       21.     Defendant has used these fraudulent communications to induce consumers to

subscribe to Match.com. When consumers have received these communications, they have also

received accompanying advertisements from Defendant encouraging them to subscribe to

Match.com in order to view the content of the communication and the identity of the sender.

These advertisements do not disclose whether Defendant had identified the Match.com user as

likely to attempt to defraud the consumer receiving the message or as requiring further review by

Match’s fraud review process due to the likelihood that the user is engaging in fraud.

       22.     Specifically, when nonsubscribers have received likes, favorites, emails, and

instant messages on Match.com, they have also received automatically generated emailed

advertisements from Defendant encouraging them to subscribe to Match.com to view the identity

of the sender or the communication they received. These advertisements represent that the

communication the nonsubscriber received was sent from a legitimate user of the site who has

expressed interest in the consumer receiving the message:




                                          COMPLAINT
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                                                                       APP 009
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Match.com before or after Defendant completes its fraud review process: if the consumer

subscribes before the review is completed, the consumer receives the communication that was

sent; if Defendant has already completed its review process and deleted the account as fraudulent

before the consumer subscribes, the consumer will receive a notification that the profile is

“unavailable.”

       27.       Indeed, in numerous instances, Defendant has not notified consumers that the

Match.com users contacting them were removed from Match.com due to the high likelihood that

these users were seeking to defraud consumers.

       28.       When consumers contact Defendant to complain about subscribing to Match.com

only to receive a notification that a sender’s account is “unavailable,” Defendant has replied,

“Please be assured, Match.com does not send members misleading notifications, e-mails or

winks professing romantic interest. We have too much respect for our members to ever

compromise their trust. If you have received communications from members with profiles that

are not immediately available, the member may have temporarily hidden their profile.”

       29.       Between at least 2013 and mid-2017, Defendant tracked the number of fraud-

generated personalized advertisements it sent to nonsubscribers and those advertisements’ effect

on Match.com’s subscriber numbers.

       30.       Hundreds of thousands of consumers have subscribed to Match.com shortly after

receiving a fraudulent communication. In fact, Defendant has consistently tracked how many

subscribers these communications have generated, typically by measuring the number of

consumers who subscribe to Match.com within 24 hours of receiving an advertisement that touts

a fraudulent communication. From June 2016 to May 2018, for example, Defendant’s analysis




                                           COMPLAINT
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                                                                                               APP 010
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found that consumers purchased 499,691 subscriptions within 24 hours of receiving an

advertisement touting a fraudulent communication.

     Defendant Exposed Consumers to the Risk of Falling Victim to Fraud by Marketing
      Communications from Users That It Knew to be Likely to be Engaging in Fraud

       31.     Defendant is aware that these communications reach consumers and automatically

generate personalized advertisements encouraging them to subscribe to Match.com. In fact,

Defendant screens users that send communications through Match.com to identify users that are

likely to be perpetrating romance scams or other frauds. In many instances, Defendant has

withheld communications sent by these users.

       32.     Between 2013 and mid-2018, however, Defendant delivered email

communications from fraud-flagged users to nonsubscribers while withholding them from

subscribers until it had completed its fraud review. If, for example, a user Defendant flagged as

potentially fraudulent had sent three emails to subscribers and three emails to nonsubscribers,

Defendant would have withheld the three emails sent to subscribers until its fraud review was

complete while allowing the three emails sent to nonsubscribers to reach their recipients.

       33.     Without this practice, the vast majority of these fraud-flagged Match.com users

would never have been able to contact their intended recipients: between June 2016 and the

beginning of May 2018, for example, approximately 87.8 percent of accounts whose messages

Defendant withheld were later confirmed by Defendant to be fraudulent.

       34.     As a result, consumers who subscribed to Match.com after receiving an ad touting

these messages were at risk of receiving communications that Defendant knew to be from users

that were likely to be engaging in fraud. Between June 2016 and the beginning of May 2018, for

example, Defendant delivered approximately 4 million communications that Defendant would

have withheld had the approximately 2.25 million consumers who received them already been

                                           COMPLAINT
                                              9

                                                                                             APP 011
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subscribers when the communications were sent. More than 250,000 of those consumers

subscribed to Match.com within 24 hours of receiving the email communications.

       35.     Due to these practices, Defendant has delivered millions of advertisements to

consumers touting communications that Defendant knew to be sent by users likely engaging in

fraud and that those consumers would not have received had they already been subscribers to

Match.com. In addition, consumers who subscribed to Match.com to view these communications

were placed at risk of falling victim to a romance scam or other form of fraud.

       Defendant’s Use of Deceptive Guarantees to Promote Match.com Subscriptions

       36.     Consumers interested in using Defendant’s online dating services can purchase a

subscription from the Match.com website. Often, consumers who visit the Match.com website

are offered a “match GUARANTEE” if they purchase a six-month subscription:




                                          COMPLAINT
                                             10

                                                                                          APP 012
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       37.     When consumers hover their cursors over the “match GUARANTEE” hyperlink,

Defendant promises a free six-month subscription to any consumer who purchases a six-month

paid subscription but does not “meet someone special” during the first six months:




       38.     Although Defendant’s offer does not disclose that the guarantee is subject to any

additional terms or conditions, consumers who click “Learn more” are directed to a rules page

that provides several requirements that the consumer must satisfy to receive the guarantee.

       39.     According to the “Learn more” page, consumers must sign up for a six-month

subscription, create a truthful public profile with a primary photo, initiate or respond to

communications with at least five unique Match.com members each month, and comply with the

guarantee program rules:




                                            COMPLAINT
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                                                                                              APP 013
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       40.     Underneath this description, Defendant provides a lengthy “Program Rules”

section. This section provides six bolded, individually numbered eligibility rules that explain the

requirements further, including both maintaining a public profile photo that is approved by

Match.com and contacting five unique Match.com subscribers each month. For example, the

rules clarify that to satisfy the primary photo requirement, consumers must submit a photo and

have it approved by Defendant within the first seven days of purchasing the guarantee:




                                           COMPLAINT
                                              12

                                                                                            APP 014
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        41.    After the numbered list of rules, the page contains several unnumbered

 paragraphs. Despite containing neither numbered nor conspicuously set off language, these

 paragraphs contain additional requirements related to consumers’ ability to comply with

 Defendant’s Match guarantee program rules.


                                          COMPLAINT
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                                                                                        APP 015
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       42.     Consumers who continue reading after the numbered list of requirements will find

that Defendant’s website includes a “progress page” tracking their compliance with the

guarantee’s rules that consumers must access to comply with the offer’s terms:




       43.     Consumers who view the progress page are reminded that they are required to

create a public profile with a photograph and to start a conversation with at least five Match.com

members each month, but not that they must provide an approved photo within the first seven

days of subscribing or that the members they contact must be subscribers:




                                          COMPLAINT
                                             14

                                                                                            APP 016
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        44.    In numerous instances, however, consumers are unaware of the existence of the

progress page and do not understand the requirements of the guarantee.

        45.    Consumers who continue reading after the numbered list of requirements and the

progress page description will also find an additional requirement to receive the free six-month

package: they must “accept” the free six months during the final week of the initial six-month

term.


                                          COMPLAINT
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                                                                                           APP 017
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       46.     Consumers are often not aware that they must accept the guarantee during the

final week of their initial subscription because this requirement is not clearly or conspicuously

disclosed alongside the guarantee’s other requirements.

       47.     Moreover, even when consumers are aware that they must timely accept the

guarantee, consumers must also access their progress page during the last week of their initial

six-month period and answer the question, “Did you meet anyone during your 6-month guarantee

program?”




       48.     According to one of Defendant’s customer service executives, this question has

been “obviously misunderstood” by many consumers, who believe it to ask whether they met

anyone at all through the service instead of whether they met “someone special.” Consumers

who respond “Yes” to the question are prohibited from claiming a guarantee.

       49.     As a result of Defendant’s failure to clearly disclose the guarantee program

requirements and to maintain a clear process to claim the guarantee, few consumers receive the

free six-month subscription that they were promised. Instead, consumers are often surprised to

find that their payment instruments are billed for another six-month subscription at the end of the

initial period due to the negative option feature of Match.com’s subscriptions.


                                           COMPLAINT
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                                                                                              APP 018
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       50.      Between 2013 and 2016, consumers purchased nearly 2.5 million subscriptions

subject to the guarantee but only received 32,438 free six-month subscription packages during

the same period. In contrast, Defendant billed nearly 1 million consumers who purchased a

guarantee for an additional six-month package when the first six-month period expired.

         Defendant’s Billing and Cancellation Practices for Match.com Subscriptions

       51.      Consumers who purchase a subscription package must complete an online

enrollment process at Match.com and provide their credit card or other payment information to

pay for the initial subscription package. Defendant’s subscription packages include a “negative

option renewal” feature, meaning that Defendant will automatically charge consumers for a new

term at the end of each subscription period, unless the consumer has affirmatively canceled the

subscription.

       52.      Consumers who subscribe to Match.com thus continue to have their subscriptions

renewed and are charged until they affirmatively act to cancel their subscriptions. Often,

consumers who attempt to cancel their Match.com subscriptions or subscription renewals are

deterred by confusing and cumbersome cancellation practices.

       53.      To cancel a Match.com subscription, consumers must complete several steps.

After locating the cancellation tab and inputting their passwords, consumers have first either had

to click through a “retention offer” or, as of 2017, a “Cancel Subscription” hyperlink.

       54.      Next, subscribers have had to click through two pages of survey questions, in

which the subscriber’s response to one question causes a follow-up question to pop up. For

example, clicking “I had too much going on and did not have time to date,” results in the follow

up question, “When do you feel you might be ready to date again?” with three possible answers.

Finally, consumers reach the cancellation confirmation page.



                                           COMPLAINT
                                              17

                                                                                             APP 019
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       55.     Defendant illustrated the cumbersome nature of this process in a 2015 internal

presentation, the notes to which described the cancellation flow as “hard to find, tedious, and

confusing. Members often think they’ve cancelled when they have not and end up with unwanted

renewals. The current process takes over 6 clicks”:




                                           COMPLAINT
                                              18

                                                                                            APP 020
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       56.      Thousands of consumers have complained about Match.com’s cancellation

procedures. They have also claimed that Defendant has billed them after they believed they

effectively canceled their Match.com subscriptions.

       57.      Defendant’s executives have acknowledged that Match.com’s cancellation

process is “convoluted and confusing.” Defendant’s head of customer service stated in 2016, for

example, that “it’s been the same complaint for the past decade that I’ve been with Match . . . It

takes up to 7 or 8 clicks to complete the flow to turn off [subscriptions] if you can even figure

out how to do it.”

                Defendant’s Terminating Accounts in Response to Billing Disputes

       58.      Because of Defendant’s deceptive advertising, billing, and cancellation practices,

consumers often raise billing disputes with Defendant. In numerous instances, consumers dispute

Defendant’s charges through their financial institutions.

       59.      When consumers dispute these charges, Defendant contests the disputes. When

Defendant prevails in a billing dispute, Defendant often fails to provide consumers access to

their Match.com accounts or to the subscription services that the consumers paid for. Instead,

Defendant terminates the consumers’ accounts and deletes their profiles.

       60.      In fact, Match.com’s Terms of Use warns that if Defendant “successfully disputes

the reversal [of charges], and the reversed funds are returned, you are not entitled to a refund or

to have your account or subscription reinstated.” Defendant has placed this disclosure near the

end of its lengthy Terms of Use document and has not set it off or otherwise made it conspicuous

to consumers.

       61.      Defendant has estimated that 60 percent of chargebacks occur within one month

of the disputed charge and that 82 percent of chargebacks occur within the first two months of



                                           COMPLAINT
                                              19

                                                                                              APP 021
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the charge. Thus, consumers who dispute a charge and lose the dispute will often have remaining

time in their 3-, 6-, or 12-month subscriptions and are banned from accessing the services they

paid for.

       62.     Based on (a) Defendant’s long history of continuous conduct of the type described

above; (b) Defendant’s continued use of the practices challenged above—including delivering

communications from fraud-flagged accounts sent to nonsubscribers while withholding them

from subscribers—after learning of the Commission’s investigation; (c) Defendant’s continued

use of the personalized advertisements, guarantee offers, cancellation practices, and account

termination practices described above; and (d) the ease with which Defendant can engage in or

resume similar conduct, the FTC has reason to believe that Defendant is violating or is about to

violate laws enforced by the Commission.

                               VIOLATIONS OF THE FTC ACT

       63.     Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts

or practices in or affecting commerce.”

       64.     Misrepresentations or deceptive omissions of material fact constitute deceptive

acts or practices prohibited by Section 5(a) of the FTC Act.

       65.     Acts or practices are unfair under Section 5 of the FTC Act if they cause or are

likely to cause substantial injury to consumers that consumers cannot reasonably avoid

themselves and that is not outweighed by countervailing benefits to consumers or competition.

15 U.S.C. § 45(n).

                                         Count I
                  Misrepresentation Regarding Users of Defendant’s Service

       66.     In numerous instances in connection with the advertising, marketing, promotion,

offering for sale, or sale of its online dating service, Defendant has represented, directly or

                                            COMPLAINT
                                               20

                                                                                                  APP 022
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indirectly, expressly or by implication, that communications received by consumers using

Match.com are from people interested in establishing a dating relationship with those consumers.

       67.     In truth and in fact, in numerous instances in which Defendant has made the

representation set forth in Paragraph 66 of this Complaint, the communications received by

consumers using Match.com are not from people interested in establishing a dating relationship

with those consumers but are instead from fake accounts created by fraudsters to deceive

consumers.

       68.     Therefore, Defendant’s representation as set forth in Paragraph 66 of this

Complaint is false and misleading and constitutes a deceptive act or practice in violation of

Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                          Count II
                             Exposing Consumers to Risk of Fraud

       69.     Through the means described in Paragraphs 31-35, Defendant exposed consumers

to the risk of fraud by providing recent subscribers access to communications that Defendant

knew were likely to have been sent by persons engaging in fraud.

       70.     Defendant’s actions cause or are likely to cause substantial injury to consumers

that consumers cannot reasonably avoid themselves and that is not outweighed by countervailing

benefits to consumers or competition.

       71.     Therefore, Defendant’s practices as described in Paragraph 69 above constitute

unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. §§ 45(a) and 45(n).

                                           Count III
                                Deceptive “Guarantee” Program

       72.     In numerous instance in connection with the advertising, marketing, promotion,

offering for sale, or sale of its online dating service, Defendant has represented, directly or



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indirectly, expressly or by implication, that consumers would receive a free six-month

subscription if they purchased a six-month Match.com subscription and did not “meet someone

special” during that initial six-month period on Match.com.

       73.     In numerous instances in which Defendant has made the representation set forth

in Paragraph 72 of this Complaint, Defendant has failed to disclose, or disclose adequately to

consumers, that the consumer must take specific steps to claim the guarantee during the final

week of the initial six-month subscription period, including (a) securing and maintaining a public

profile with a primary photo approved by Defendant within the first seven days of purchase, (b)

messaging five unique Match.com subscribers per month, and (c) using Defendant’s progress

page to redeem the free six months during the final week of the initial six-month subscription

period. This additional information would be material to consumers in deciding to purchase or in

their conduct regarding the online dating service that Defendant sells.

       74.     Defendant’s failure to disclose or disclose adequately the material information

described in Paragraph 73, above, in light of the representation described in Paragraph 72, above,

constitutes a deceptive act or practice in violation of Section 5 of the FTC Act, 15 U.S.C.

§ 45(a).

                                          Count IV
                       Unfair Denial of Access to Consumers’ Accounts

       75.     In numerous instances, Defendant has barred consumers who have disputed

charges through their financial institutions from using paid-for Match.com subscription services.

       76.     Defendant’s actions cause or are likely to cause substantial injury to consumers

that consumers cannot reasonably avoid themselves and that is not outweighed by countervailing

benefits to consumers or competition.




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          77.   Therefore, Defendant’s practices as described in Paragraph 75 above constitute

unfair acts or practices in violation of the FTC Act, 15 U.S.C. §§ 45(a) and 45(n).

                 VIOLATIONS OF THE RESTORE ONLINE SHOPPERS’
                               CONFIDENCE ACT

          78.   In 2010, Congress passed ROSCA, 15 U.S.C. §§ 8401-05, which became

effective on December 29, 2010. Congress passed ROSCA because “[c]onsumer confidence is

essential to the growth of online commerce. To continue its development as a marketplace, the

Internet must provide consumers with clear, accurate information and give sellers an opportunity

to fairly compete with one another for consumers’ business.” Section 2 of ROSCA, 15 U.S.C.

§ 8401.

       79.      Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits charging consumers

for goods or services sold in transactions effected on the Internet through a negative option

feature, as that term is defined in the Commission’s Telemarketing Sales Rule (“TSR”), 16

C.F.R. § 310.2(u), unless the seller (a) clearly and conspicuously discloses all material terms of

the transaction before obtaining the consumer’s billing information, (b) obtains the consumer’s

express informed consent before making the charge, and (c) provides a simple mechanism to

stop recurring charges. See 15 U.S.C. § 8403(1)–(3).

       80.      The TSR defines a negative option feature as: “an offer or agreement to sell or

provide any goods or services, a provision under which the consumer’s silence or failure to take

an affirmative action to reject goods or services or to cancel the agreement is interpreted by the

seller as acceptance of the offer.” 16 C.F.R. § 310.2(w).

          81.   Pursuant to Section 5 of ROSCA, 15 U.S.C. § 8404, a violation of ROSCA is

treated as a violation of a rule promulgated under Section 18 of the FTC Act, 15 U.S.C. § 57a.




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                                        Count V
     Failure to Provide a Simple Mechanism for Consumers to Stop Recurring Charges

        82.    In numerous instances, in connection with charging consumers for goods or

services sold in transactions effected on the Internet through a negative option feature, as

described in Paragraphs 51-57 above, Defendant has failed to provide simple mechanisms for a

consumer to stop recurring charges from being placed on the consumer’s credit card, debit card,

bank account, or other financial account.

        83.    Defendant’s practices as described in Paragraph 82, above, violate Section 4 of

ROSCA, 15 U.S.C. § 8403.

                                      CONSUMER INJURY

        84.    Consumers have suffered and will continue to suffer substantial injury as a result

of Defendant’s violations of the FTC Act and ROSCA. In addition, Defendant has been unjustly

enriched as a result of its unlawful acts or practices. Absent injunctive relief by this Court,

Defendant is likely to continue to injure consumers, reap unjust enrichment, and harm the public

interest.

                        THIS COURT’S POWER TO GRANT RELIEF

        85.    Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant

injunctive and such other relief as the Court may deem appropriate to halt and redress violations

of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

remedy any violation of any provision of law enforced by the FTC.

        86.    Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A), as modified by the

Federal Civil Penalties Inflation Adjustment Act Improvements Act of 2015, Pub. L. 114-74,

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§ 701 (amending the Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C.

§ 2461), as amended, and as implemented by 16 C.F.R. § 1.98(d), authorizes this court to award

monetary civil penalties of not more than $42,530 for each violation of ROSCA. The

Defendant’s violations of ROSCA were committed with the knowledge required by Section

5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A).

       87.     Section 19 of the FTC Act, 15 U.S.C. § 57b , and Section 5 of ROSCA, 15 U.S.C.

§ 8404, authorize this Court to grant such relief as the Court finds necessary to redress injury to

consumers resulting from Defendant’s violations of ROSCA, including the rescission or

reformation of contracts, and the refund of money.

                                    PRAYER FOR RELIEF

       88.     Wherefore, Plaintiff, pursuant to Sections 5(a), 5(m)(1)(A), 13(b), 16(a), and 19

of the FTC Act, 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b), 56(a), and 57b, and Section 5 of

ROSCA, 15 U.S.C. § 8404, and the Court’s own equitable powers, requests that the Court:

               a. Enter a permanent injunction to prevent future violations of the FTC Act and

                   ROSCA by Defendant;

               b. Award monetary civil penalties from Defendant for every violation of

                   ROSCA;

               c. Award such relief as the Court finds necessary to redress injury to consumers

                   resulting from Defendant’s violations of the FTC Act and ROSCA, including

                   but not limited to, rescission or reformation of contracts, restitution, the refund

                   of monies paid, and the disgorgement of ill-gotten monies; and

               d. Award Plaintiff the costs of bringing this action, as well as such other and

                   additional relief as the Court may determine to be just and proper.



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                                     Respectfully submitted,

 DATED: [Date]

 FOR THE UNITED STATES:

 [Name]                              Of Counsel:
 Assistant Attorney General
 Civil Division

 [Name]                              DAMA J. BROWN
 Deputy Assitant Attorney General    Regional Director
                                     Southwest Region
 [Name]
 Director
 Consumer Protection Branch


 [Department of Justice Staff]       ZACHARY A. KELLER, Managing Attorney
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                                     Attorneys for Plaintiff
                                     FEDERAL TRADE COMMISSION




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             EXHIBIT 1-B
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 From:           Zambrano, Angela
 To:             Zkeller@ftc.gov
 Cc:             Hummel, Chad S.; Sillers, David
 Subject:        FTC v. Match Group Inc.
 Date:           Wednesday, October 9, 2019 11:25:32 AM
 Attachments:    image001.png




 Hi Zach,

 The FTC named Match Group, Inc. as the defendant in its recent lawsuit, No. 3:19-cv-02281-
 K (N.D. Tex.). As you know, the Complaint challenges conduct related to Match.com.
 Match.com is owned and operated by Match Group, LLC and not by Match Group, Inc. In
 fact, as our client has repeatedly told the FTC, none of the activities challenged by the
 Complaint were performed by Match Group, Inc. Instead, Match Group, Inc. is simply the
 parent of Match Group, LLC. Thus, Match Group, Inc. is incorrectly named as a defendant in
 this lawsuit and should be voluntarily dismissed. In the interests of efficiency and to avoid
 unnecessary motion practice, we request that the FTC voluntarily dismiss its Complaint on or
 before Friday October 11th

 Thanks - Angela




 ANGELA C. ZAMBRANO


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            EXHIBIT 1-C
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From:            Keller Zachary A.
To:              Zambrano Angela
Cc:              Hummel Chad S.; Sillers David; Wilshire Matthew; Aijaz Hasan
Subject:         RE: FTC v. Match Group Inc.
Date:            Friday, October 11, 2019 12:08:24 PM
Attachments:     image001.png


Hi Angela,

We appreciate your reaching out but decline to voluntarily dismiss the Complaint.

Please let me know if you have any other requests or need anything else.

Best,
Zachary A. Keller
Attorney
Federal Trade Commission
Southwest Region
1999 Bryan St. Suite 2150
Dallas, TX 75201
214-979-9382
zkeller@ftc.gov


From: Zambrano, Angela <angela.zambrano@sidley.com>
Sent: Wednesday, October 09, 2019 11:26 AM
To: Keller, Zachary A. <zkeller@ftc.gov>
Cc: Hummel, Chad S. <chummel@sidley.com>; Sillers, David <dsillers@sidley.com>
Subject: FTC v. Match Group Inc.

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of efficiency and to avoid unnecessary motion practice, we request that the FTC voluntarily dismiss its Complaint on or
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Thanks - Angela


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